           Case 21-03067-sgj             Doc 132 Filed 11/29/22 Entered 11/29/22 10:55:18                    Desc
                                         Letter RE deficiency (AP) Page 1 of 1
BTXN 027 (rev. 06/13)
                                          UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS


In Re:                                                         §
Highland Capital Management, L.P.                              §
                                                               §    Case No.: 19−34054−sgj11
                                             Debtor(s)         §    Chapter No.: 11
Charitable DAF Fund, LP et al.                                 §
                                     Plaintiff(s)              §    Adversary No.:      21−03067−sgj
      vs.                                                      §
Highland Capital Management, LP et al.                         §
                                     Defendant(s)              §


Dear Mazin Sbaiti:

     The above referenced case has been reviewed as part of the Clerk's Office continuing effort to identify cases that
are deficient for specific documents. Our review indicates that this case requires:

                        Interim Report
                        Trustee's Final Account
                        Trustee's Final Report
                        341 Meeting Minute Sheet and Exempt Property Report
                        Report of Trustee in No−Asset Case and Application for Closing
                        Motion to Dismiss debtor's Failure to Attend 341 Meeting
                        Other: Please file status conference hearing in re: Motion for withdrawal of reference.
                        You may contact the Judge's courtroom deputy if a date and time is needed.

Please electronically file the requested documents, provide a specific date for which this information will be provided
to the Court, or provide information as to why this case should remain open. Failure to respond within 48 hours from
the date of this letter may result in the Court setting a status conference to determine why the document(s) has not
been filed or the matter may be denied for want of prosecution.



DATED: 11/29/22                                     FOR THE COURT:
                                                    Robert P. Colwell, Clerk of Court

                                                    by: /s/Sheniqua Whitaker, Deputy Clerk
                                                    sheniqua_whitaker@txnb.uscourts.gov
